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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS

 DAVID JAMES FISTER, on behalf of                )
 themselves and others similarly situated,       )
                                                 )
         Plaintiff,                              )
                                                 )
 v.                                              )      Civil Action No. 1:20-cv-10789-RGS
                                                 )
 MASSACHUSETTS INSTITUTE OF                      )
 TECHNOLOGY, a Massachusetts                     )
 corporation, and EMERITUS INSTITUTE             )
 OF MANAGEMENT PTE. LTD.,                        )
                                                 )
         Defendants.                             )

                      STIPULATION OF DISMISSAL WITH PREJUDICE

      Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, plaintiff David

James Fister and defendants the Massachusetts Institute of Technology and Emeritus Institute of

Management Pte. Ltd. stipulate that (1) the above-captioned action is dismissed with prejudice as

to the individual claims of plaintiff and without prejudice as to the claims of the putative class,

(2) plaintiff waives any right to appeal the dismissal of the action, and (3) each party shall bear his

or its own costs and attorneys’ fees.
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Respectfully submitted,

  /s/ Anthony I. Paronich (w/ permission)                   /s/ Gregory N. Blase
  Anthony I. Paronich (BBO# 678437)                         Andrew C. Glass (BBO# 638362)
    anthony@paronichlaw.com                                   andrew.glass@klgates.com
  Paronich Law, P.C.                                        Gregory N. Blase (BBO# 662751)
  350 Lincoln Street, Suite 2400                               gregory.blase@klgates.com
  Hingham, MA 02043                                         Hollee M. Boudreau (BBO# 691480)
  Tel: (508) 221-1510                                         hollee.boudreau@klgates.com
                                                            K&L GATES LLP
  Donald E. Petersen (admitted pro hac vice)                State Street Financial Center
    Petersen.NACBA@gmail.com                                One Lincoln Street
  Law Office of Donald E. Petersen                          Boston, Massachusetts 02111
  2100 Campbell Street                                      Tel: (617) 261-3100
  Palatka, FL 32177
  Tel: (407) 648-9050                                       Counsel for Defendants Massachusetts
                                                            Institute of Technology and Emeritus
  Counsel for Plaintiff                                     Institute of Management Pte. Ltd.


Dated: August 11, 2020




                                 CERTIFICATE OF SERVICE



        I, the undersigned, certify that on August 11, 2020, this document, filed through the ECF
system, will be sent electronically to the registered participants as identified on the Notice of
Electronic Filing and paper copies will be sent via First Class United States Mail to those indicated
as non-registered participants.


                                                   /s/ Gregory N. Blase
                                                   Gregory N. Blase




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